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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                )
In the Matter of the                            )
Federal Bureau of Prison’s Execution            )
Protocol Cases,                                 )
                                                )
LEAD CASE: Roane et. al. v. Barr                )    C.A. No. 19-mc-0145 (TSC)
                                                )
                                                )
THIS DOCUMENT RELATES TO:                       )
                                                )
Holder v. Barr, 19-cv-3570 (TSC)                )
                                                )



           MOTION FOR ADMISSION PRO HAC VICE OF JENNIFER YING


               Pursuant to Local Civil Rule 83.2(d), I, Scott W. Braden, a member in good

standing of the Bar of this Court and counsel for Mr. Holder, hereby move for the admission pro

hac vice of Jennifer Ying in the above-captioned case. The attorney seeking admission is an

integral part of the legal team representing Mr. Holder, and the undersigned counsel respectfully

requests that the Court grant her the opportunity to appear and be heard in open court as the needs

of the case dictate. As required by Local Civil Rule 83.2(d), this motion is supported by the

attached Declaration of Jennifer Ying and a Proposed Order.



                                              Respectfully submitted
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December 14, 2019




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                )
In the Matter of the                            )
Federal Bureau of Prison’s Execution            )
Protocol Cases,                                 )
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LEAD CASE: Roane et. al. v. Barr                )   C.A. No. 19-mc-0145 (TSC)
                                                )
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THIS DOCUMENT RELATES TO:                       )
                                                )
Holder v. Barr, 19-cv-3570 (TSC)                )
                                                )



                                    [PROPOSED] ORDER


               Upon consideration of Plaintiff’s Motion for Admission Pro Hac Vice of Jennifer

Ying, it is hereby ORDERED that the Motion is GRANTED. Jennifer Ying is admitted pro hac

vice and may appear on behalf of Plaintiff in the above-captioned case.

Dated: __________________________                           __________________________
                                                            Tanya S. Chutkan
                                                            United States District Judge
